                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


SECURITIES AND EXCHANGE
COMMISSION,
                                                      CIVIL ACTION No. 1:23-cv-10210-VSB
               Plaintiffs,

       vs.

NADIM AHMED a/k/a NADIM KHAN,
MEHREEN SHAH a/k/a MONA SHAH,
NURIDE TRANSPORTATION GROUP,
LLC, NYC GREEN TRANSPORTATION
GROUP, LLC, MED TRANS EB-5 FUND,
LLC, NYC EV MOBILITY LLC,
GRAVITAS NYC REGIONAL CENTER,                                         4/30/2024
LLC f/k/a NYC TRANSPORTATION
REGIONAL CENTER, LLC, and MONA
SHAH & ASSOCIATES, PLLC,

               Defendants.


               MOTION TO WITHDRAW ATTORNEY APPEARANCE OF
                            ALEX J. SCANDROLI

       PLEASE TAKE NOTICE that pursuant to Local Civ. R. 1.4, Alex J. Scandroli, attorney

for Defendants Mona Shah, Mona Shah & Associates, PLLC, Gravitas NYC Regional Center

LLC f/k/a NYC Transportation Regional Center, LLC, and Med Trans EB-5 Fund, LLC (the

“Shah Defendants”), hereby moves to withdraw the appearance as counsel in the above-

captioned matter. Mr. Scandroli will no longer be associated with the firm representing the Shah

Defendants as of April 26, 2024. The Shah Defendants continue to be represented by counsel at

McGuireWoods LLP, including at least one attorney who is a member of the Bar of this Court.

Mr. Scandroli’s withdrawal as counsel will not have an impact on the case calendar, and Mr.

Scandroli is not asserting a retaining or charging lien.



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Dated: April 29, 2024       Respectfully submitted,

                            McGuireWoods LLP


                            Alex J. Scandroli
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                            McGuireWoods LLP
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                            Attorney for Defendants Mona Shah,
                            Mona Shah & Associates, PLLC,
                            Gravitas NYC Regional Center, LLC
                            f/k/a NYC Transportation Regional
                            Center, LLC, and Med Trans EB-5
                            Fund, LLC




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                                 CERTIFICATE OF SERVICE


          I hereby certify that on April 25 2024, I electronically filed the foregoing document

entitled MOTION TO WITHDRAW ATTORNEY APPEARANCE OF ALEX J.

SCANDROLI with the Clerk of the Court for the United States District Court, Southern District

of New York, using the CM/ECF system and served a copy of same upon all counsel of record

via the Court’s electronic filing system.




Dated: April 29, 2024                                       Respectfully submitted,



                                                            ________________________
                                                            Alex J. Scandroli




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